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                          UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO
In Re:
                                               )      CHAPTER 11, SUBCHAPTER V
IDC ENTERPRISES, INC.,                         )
                                               )      CASE NO. 20-20081-TLM
                                               )
                               Debtor.         )

              SUBCHAPTER V CASE TRUSTEE’S RECOMMENDATION ON
                   DEBTOR’S PLAN OF REORGANIZATION FOR
                    SMALL BUSINESSES UNDER CHAPTER 11

Summary Recommendation – Trustee does not think this case is ready for confirmation for the

following reasons:

   •     Debtor has not provided documentation of property insurance coverage on its equipment

         and vehicles.

   •     Debtor has not provided accurate tax returns as required. 11 U.S.C. §1187(b). Corrected

         tax returns might also change the amount of the IRS claim, and payment requirements.

   •     Debtor hasn’t file its May 2020 Monthly Operating Report. 11 U.S.C. §1106(a).

   •     Debtor has not demonstrated the ability to make payments required by the Plan. 11

         U.S.C. §1190(1)(C).

   •     Two creditors have objected to the Plan.

   •     The Plan indicates Debtor will object to some creditor claims, and/or file lawsuits against

         creditors. Claim objections have not been filed or heard by this Court yet. The lawsuit



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       against one creditor was just filed today. Viability of Debtor’s enterprise will depend on

       the outcome of the claim objections/lawsuit(s).

   •   The Plan isn’t completely clear about what Debtor’s enterprise will consist of and in

       which location(s) the business will operate.

Status Report – Trustee believes Debtor and creditors will need to resolve or litigate their

disputes and claims before the Plan may be confirmed, because resolution of the disputes will

determine the claim amounts, the required Plan payments, and what equipment is available to

Debtor to continue its business.

Recommendation Details – Trustee’s recommendation is explained further as follows:

   •   Eligibility – Trustee believes Debtor is eligible for Subchapter V of Chapter 11. 11

       U.S.C. §101(51D).

   •   Feasibility – The Debtor’s business enterprise and method of generating revenue appears

       to be inconsistent.

   •   Liquidation Analysis – Debtor is proposing to pay all unsecured claims in full.

   •   Creditor Objections – At the time of this recommendation, two creditors have objected

       to the Plan.

Monthly Reports –Debtor has not yet filed its May Monthly Operating Report.

Property Insurance Coverage – Debtor has not provided Trustee or creditor a copy of its

insurance binder for insurable property which is subject to risk of loss.

Conclusion – Based on the present information available, Trustee will not recommend

confirmation of the Plan

       Dated: July 13, 2020.

                                                              /s/
                                                              Gary L. Rainsdon, Trustee

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                              CERTIFICATE OF MAILING

       I hereby certify that on July 13, 2020, I filed the foregoing electronically through the
CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

   •   Brett R Cahoon ustp.region18.bs.ecf@usdoj.gov
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   •   US Trustee ustp.region18.bs.ecf@usdoj.gov
   •
      AND I FURTHER CERTIFY that on said date, I served the foregoing on the following
non- CM/ECF Registered Participants in the manner indicated:

       First Class Mail:

       Jason Lunders
       IDC Enterprises, Inc.
       450 White Bird Street
       Grangeville, ID 83530

       Annette Moore
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       Meridian, ID 83642


                                                      By: /s/
                                                                Gary L. Rainsdon, Trustee




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